                                                                                                     E-FILED
                                                                   Monday, 11 October, 2021 10:54:04 AM
                                                                            Clerk, U.S. District Court, ILCD
                   IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


United States of America                            )
                     Plaintiff,                     )
       V.                                           )       No. 18-CR-30025
                                                    )       Hon. Sue E. Myerscough
Abdul Alsamah                                       )       Mag. Tom Shchanzle-Haskins
                      Defendant.                    )


    MOTION TO WITHDRAW AS COUNSEL AND CONTINUE OCTOBER 18, 2021
                        SENTENCING DATE

       NOW COMES the defendant, Abdul Alsamah (“ALSAMAH), by and through his

attorney, Michael J. Petro and hereby requests this Honorable Court to grant this MOTION TO

CONTINUE OCTOBER 18, 2021 SENTENCING DATE. In support of this motion,

ALSAMAH states as follows:

       1. ALSAMAH’s sentencing date is currently is set to go forward on October 18, 2021;

       2. ALSAMAH is charged generally with Conspiracy to Distribute Controlled Substance;

       3. ALSAMAH is in custody in Macon County;

       4. ALSAMAH has informed undersigned counsel that he is discharged as attorney and

           that new counsel has been retained for all matters going forward.

       5. Further, ALSAMAH’s is preparing his sentencing memo. ALSAMAH intends to

           object to the USSG offense level calculation for 2D1.1 Relevant 3B1.1 Aggravating

           Role.

       6. Further, ALSAMAH is in the process of gathering mitigation for his sentencing

           including medical records, letters of support and testimony for his sentencing hearing;

       7. AUSA Tim Bass has been notified of this Motion. As of the time of this writing, he

           has not responded as to the Government’s position.
       WHEREFORE, the defendant ABDUL ALSAMAH respectfully requests this Honorable

Court to grant this MOTION TO WITHDRAW AS COUNSEL AND CONTINUE OCTOBER

18, 2021 SENTENCING DATESENTENCING DATE.



Respectfully submitted,

s/Michael J. Petro

Attorney for ABDUL ALSAMAH
20 North Clark Street, Suite 720
Chicago, IL 60602
312-913-1111




                                         2
                                 CERTIFICATE OF SERVICE


       I, Michael J. Petro, an attorney, state that I caused to be filed, by electronic filing

(ECF), with the Clerk of the United States District Court for the Central District of Illinois, the

foregoing

       MOTION TO WITHDRAW AS COUNSEL AND CONTINUE OCTOBER 18, 2021
                        SENTENCING DATE

       The undersigned also certifies, as to the following parties, that in accordance with

F.R.Civ.P. 5, LR 5.5 and the General Order on Electronic Case Filing (ECF), the foregoing

pleading, along with a notice of motion if required, were served pursuant to the district court’s

ECF system on Monday, October 11, 2021.


Respectfully submitted,

s/Michael J. Petro

Attorney for ABDUL ALSAMAH
20 North Clark Street, Suite 720
Chicago, IL 60602
312-913-1111




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